JP:RTP
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK —

~- ee ee eee eee x
UNITED STATES OF AMERICA COMPLAINT
- against - (18 U.S.C. § 922(g)(1))
MICHAEL ORTHODOX,
Defendant.

EASTERN DISTRICT OF NEW YORK, SS:

Johnny O’Brien, being duly sworn, deposes and states that he is a Deputy U.S.
Marshal with the United States Marshals Service, duly appointed according to law and acting as
such.

On or about September 25, 2013, within the Eastern District of New York and
elsewhere, the defendant MICHAEL ORTHODOX, having been convicted in a court of a crime
punishable by imprisonment for a term exceeding one year, did knowingly and intentionally
possess in and affected commerce a firearm, to wit: a .45 caliber Springfield semiautomatic
pistol and an AK47 assault rifle.

(Title 18, United States Code, Section 922(g)(1))
2

The source of your deponent’s information and the grounds for his belief are as
follows:

1. I have been a Deputy U.S. Marshal with the United States Marshals
Service ("USMS") for approximately 12 years. I am responsible for conducting investigations
into fugitives and assisting in their apprehensions. I have participated in investigations
involving search warrants and arrest warrants. J am familiar with the facts and circumstances
set forth below from my participation in the investigation; my review of the investigative file,
including the defendant’s criminal history record; and from reports of other law enforcement
officers involved in the investigation.

2. On July 10, 2013, an arrest warrant was issued for the defendant
MICHAEL ORTHODOX by the Honorable Dora L. Irizarry for the defendant’s failure to
appear in court in connection with a violation of supervised release. On September 25, 2013,
at approximately 11:30 a.m., I responded 7 an address in Brooklyn, New York (the “Brooklyn
address”) with a group of other officers to execute the arrest warrant. After receiving consent
to search the Brooklyn address, officers entered and began to search.

3. Shortly after the search began, Deputy Inspector General Edward
Richards of the Department of Investigations and Sergeant Craig Bier and Detective Edward
Colucci of the New York City Police Department observed the defendant, who they recognized
to be MICHAEL ORTHODOX, exit through a door in the back of the residence. The
defendant was arrested and a loaded .45 caliber Springfield semiautomatic pistol was recovered

from his waist band.

Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, I have not described all the relevant facts and circumstances
of which I am aware.
4. A search of the basement of the Brooklyn address revealed a loaded
AK47 assault rifle on top of a table in the kitchen, among other items, including, but not limited
to, masks and handcuffs.

5. After being advised of his rights, the defendant admitted, in substance,
that the loaded .45 caliber Springfield semiautomatic pistol and the AK47 and ammunition
belonged to him.

6. I have reviewed criminal history records for the defendant, which reveal
that on or about August 15, 2008, the defendant was convicted in the Eastern District of New
York of being a felon in possession of a firearm, in violation of Title 18, United States Code,
Section 922(g), and sentenced to 37 months’ incarceration and 36 months’ supervised release.

7. I have spoken with an ATF interstate nexus expert, who informs me that
the above-mentioned firearms were manufactured outside the State of New York.

WHEREFORE, your deponent respectfully requests that the defendant

MICHAEL ORTHODOX, be dealt with nf to law.

| df
Den ty U.S. Marsha]
United States Marshals Service

Eo
ee

Swo

26th

THE. rilyn D. Go

UNIT Ce eee ee es as JULIE

EASTERN DISTRICT OF NEW YORK
